      Case 2:11-cr-00096-DC Document 108 Filed 03/05/12 Page 1 of 3


 1   DONALD MASUDA, State Bar No. 096560
     Attorney at Law
 2   2214 21st Street
     Sacramento, California 95818
 3   Telephone: (916) 456-3030
 4   Attorney for Defendant
     IRMA ANACANI GONZALEZ
 5
 6
 7
                        IN THE UNITED STATES DISTRICT COURT
 8
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                       Case No. 2:11-cr-00096-JAM
11
                  Plaintiffs,                        STIPULATION AND ORDER
12                                                   AMENDING CONDITIONS OF
     vs.                                             RELEASE
13
14   IRMA ANACANI GONZALEZ, et al,
15                Defendants.
                                                 /
16
17
18                DEFENDANT, IRMA ANACANI GONZALEZ, by and through her
19   attorney of record, DONALD MASUDA, and PLAINTIFF, UNITED STATES OF
20   AMERICA, by and through its attorney of record, Assistant U.S. Attorney, PAUL
21   HEMESATH, agree and stipulate as follows:
22                The Conditions of Release, dated April 22, 2011, for Defendant IRMA
23   ANACANI GONZALEZ, and amended and modified by a STIPULATION AND
24   ORDER AMENDING CONDITIONS OF RELEASE, filed on August 23, 2011, is
25   further amended as follows:
26                The present Conditions of Release, as modified, are deleted in total and new
27   AMENDED CONDITIONS OF RELEASE, attached hereto and dated February 23, 2012,
28                                       1
     ________________________________________________________________________
     STIPULATION AND ORDER AMENDING CONDITIONS OF RELEASE
      Case 2:11-cr-00096-DC Document 108 Filed 03/05/12 Page 2 of 3


 1   become effective immediately.
 2                Pretrial Services has no objections to the modification as the defendant has
 3   been in compliance with conditions of release.
 4   Dated: March 1, 2012
 5                                                    /s/ Donald Masuda
                                                      _________________________________
 6                                                    DONALD MASUDA
                                                      Attorney for Defendant
 7                                                    IRMA ANACANI GONZALEZ
 8
     Dated: March 1, 2012
 9
                                                      /s/ Paul Hemesath
10                                                    _________________________________
                                                      PAUL HEMESATH
11                                                    Assistant United States Attorney
12
13                                           ORDER
14                IT IS SO ORDERED.
15
     Dated: March 5, 2012.
16
17
18
19
20
21
22
23
24
25
26
27                               2
     ________________________________________________________________________
28   STIPULATION AND ORDER AMENDING CONDITIONS OF RELEASE
      Case 2:11-cr-00096-DC Document 108 Filed 03/05/12 Page 3 of 3


 1                        AMENDED CONDITIONS OF RELEASE
                                 2:11-CR-0096-JAM
 2                             Gonzalez, Irma Anacani
 3   1.    You shall report to and comply with the rules and regulations of the Pretrial
           Services Agency;
 4
     2.    You shall report in person to the Pretrial Services Agency on the first working day
 5         following your release from custody;
 6   3.    You are to reside at a location approved by the pretrial services officer and not
           move or absent yourself from this residence for more than 24 hours without the
 7         prior approval of the pretrial services officer;
 8   4.    You shall submit to DNA testing as directed by the United States Attorney’s
           Office;
 9
     5.    Your travel is restricted to the Eastern District of California without the prior
10         consent of the pretrial services officer;
11   6.    You shall not possess a firearm/ammunition, destructive device, or other
           dangerous weapon; additionally, you shall provide written proof of divestment of
12         all firearms/ammunition currently under your control;
13   7.    You shall refrain from excessive use of alcohol or any use of a narcotic drug or
           other controlled substance without a prescription by a licensed medical
14         practitioner; and you shall notify Pretrial Services immediately of any prescribed
           medication(s). However, medicinal marijuana, prescribed or not, may not be used;
15
16
     8.    You shall seek and/or maintain employment and provide proof of same as
           requested by your pretrial services officer;
17   9.    You shall not obtain a passport or any other travel documents during the pendency
18         of this case;

19   10.   You shall report any contact with law enforcement to your pretrial services officer
           within 24 hours;
20
     11.   You shall not associate or have any contact with the co-defendants in this case,
21         with the exception of Alejandro Fletes-Lopez (the father of the defendant’s four
           children). You may only contact Alejandro Fletes-Lopez only to discuss matters
22         pertaining to your four children;

23   12.   You shall submit to alcohol or drug testing as approved by the pretrial services
           officer.
24
     February 23, 2012
25
26
27
28
